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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MISSOURI


 In re:                                          )
                                                 )
 INTERSTATE UNDERGROUND                          ) Case No. 21-40834-DRD
 WAREHOUSE AND INDUSTRIAL                        )
 PARK, INC.,                                     ) Chapter 11
                                                 )
                         Debtor.                 )
                                                 )


                     DEBTOR’S MOTION FOR ENTRY OF AN ORDER
               CONFIRMING INAPPLICABILITY OF THE AUTOMATIC STAY
               TO SALE OF REAL PROPERTY BY NON-DEBTOR SUBSIDIARY

          The above captioned debtor and debtor in possession (the “Debtor” or “IUW”) respectfully

states as follows in support of this motion (the “Motion”):

                                          Relief Requested

          1.     By this Motion, the Debtor seeks entry of an order pursuant to sections 105, 362,

and 363(b) of title 11 of the United States Code (the “Bankruptcy Code”), Rules 4001 and 6004

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 4001-1 of the

Local Rules of Practice of the United States Bankruptcy Court for the Western District of Missouri

(the “Local Bankruptcy Rules”), (a) confirming the inapplicability of the automatic stay to the sale

of certain real property held by a non-debtor subsidiary; (b) confirming that neither the Debtor nor

said subsidiary needs approval of such sale; and (c) granting related relief.

                                      Jurisdiction and Venue

          2.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Order Regarding Reference of Bankruptcy Matters to United States Bankruptcy Judges of

the United States District Court for the Western District of Missouri dated August 15, 1984. Venue
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is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2).

        3.       The statutory and legal predicates for the relief requested herein are sections 105,

362, and 363(b) of the Bankruptcy Code, Bankruptcy Rules 4001 and 6004, and Local Bankruptcy

Rule 4001-1.

                                          Procedural Background

        4.       On July 1, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for relief

under chapter 11 of the Bankruptcy Code. The Debtor operates a network of underground storage

facilities within a single location in Kansas City, Missouri. IUW houses approximately 3 million

square feet of dry storage, 250,000 square feet of cooler space, and 500,000 square feet of freezer

space for the storage of a variety of customer goods, ranging from coffins to spices. IUW provides

warehousing, distribution, fulfillment, and storage services for its wide-ranging customer base.

        5.       The Debtor continues to manage and operate its business as a debtor in possession

under sections 1107 and 1108 of the Bankruptcy Code. No trustee, examiner or official committee

has been appointed in these chapter 11 cases.

        6.       Information regarding the Debtor’s business, its capital and debt structure and the

events leading to the filing of this case is set forth in the Declaration of Leslie Reeder in Support

of Debtor’s First Day Motions (the “First Day Declaration”),1 filed on July 2, 2021 [Docket No.

19].




1 The First Day Declaration is incorporated herein by reference. Capitalized terms used but not otherwise defined
herein shall have the meanings ascribed to them in the First Day Declaration.


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                                          Basis for Relief Requested

         A.       Interstate Underground Warehouse LLC and the Weld Wheel Property

         7.       Among the Debtor’s various assets is a 100% ownership interest in Interstate

Underground Warehouse LLC (“IUW LLC”), a Missouri limited liability company. See Debtor’s

Schedule A/B: Real and Personal Property [Docket No. 1] at p. 41. IUW LLC is not a debtor in

this chapter 11 case or any other bankruptcy proceeding.

         8.       IUW LLC holds title to certain real property located at the intersection of Union

Avenue and Mulberry Street in Kansas City, Missouri (the “Property” or the “Weld Wheel

Property”).

         9.       The Weld Wheel Property is alleged to be subject to a Deed of Trust, Assignment

of Rents and Security Agreement (the “Deed of Trust”) in favor of C. Floyd Anderson and Sharon

Anderson (the “Andersons”). A true and accurate copy of the Deed of Trust is attached hereto as

Exhibit A. The Deed of Trust purports to secure a promissory note with a face amount of $3 million

(the “Note”) which is claimed to have been issued by IUW LLC, the Debtor and Harrisonville

Senior Care Center LLC (another non-debtor wholly-owned subsidiary of the Debtor). The current

balance purportedly owing on the Note is approximately $3.7 million.

         10.      The Andersons claim to hold a guarantee of the debt owing on the Note enforceable

against the Debtor and a second-position lien in the Debtor’s real property from which the Debtor

operates its storage business. The Debtor scheduled the claim asserted against it by the Andersons

as disputed. See Debtor’s Schedule D: Creditors Who Have Claims Secured by Property [Docket

No. 1] at p. 42.2


2 After the Debtor further investigated the Deed of Trust and the Note, the Debtor determined that it will not dispute
the validity of the Deed of Trust and the Note. However, the Debtor reserves its right to dispute the asserted guarantee
claim against the Debtor and any amounts alleged to be owed by the Debtor if additional facts arise. The Debtor in no
way concedes that such claim is allowed at this time.


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       11.     Pending the sale of the Weld Wheel Property and resolution of the Andersons’

claim through this chapter 11 case, the Debtor continues to make ongoing monthly principal

payments on the Note pursuant to a series of forbearance agreements negotiated between the

Debtor and the Andersons.

       B.      The Proposed Sale

       12.      On or about September 29, 2020, IUW LLC entered into a Purchase and Sale

Agreement (as subsequently amended, the “PSA”) with MTP – SRI Holdings, LLC (the “Buyer”)

for the Weld Wheel Property. A true and accurate copy of the PSA is attached hereto as Exhibit

B. The agreed sale price for the Property is $3.8 million.

       13.     The closing date for the proposed sale of the Property has been extended repeatedly

by mutual agreement of IUW LLC and the Buyer to allow additional time for due diligence. IUW

LLC and the Buyer are prepared to close within the next 30 days provided that IUW LLC can

provide sufficient documentation of clean title to the Buyer’s title examiner and insurer.

       14.     As part of the Buyer’s due diligence in connection with the proposed sale of the

Weld Wheel Property, the Buyer was informed of this chapter 11 case. In order for IUW LLC to

provide satisfactory evidence of clean title to the Property, the Buyer requested that IUW LLC

obtain a “comfort order” from this Court confirming that the proposed sale by non-debtor IUW

LLC is not subject to sections 362 and 363 of the Bankruptcy Code.

       C.      The Inapplicability of Bankruptcy Code Sections 362 and 363

       15.     The provisions of the Bankruptcy Code relating to the automatic stay and the sale

of property of the estate do not apply to the proposed sale of the Weld Wheel Property by non-

debtor IUW LLC.

       16.     Section 362(a) of the Bankruptcy Code provides for an automatic stay of, as

applicable to this Motion, “(3) any act to obtain possession of property of the estate or of property


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from the estate or to exercise control over property of the estate; (4) any act to create, perfect or

enforce any lien against property of the estate; (5) any act to create, perfect or enforce against

property of the debtor any lien to the extent that such lien secures a claim that arose before the

commencement of the case under this title; [and] (6) any act to collect, assess, o recover a claim

against the debtor that arose before the commencement of the case under this title[.]” Id.

        17.     Section 363(b) of the Bankruptcy Code permits a chapter 11 debtor-in-possession

“after notice and a hearing, [to] use, sell, or lease, other than in the ordinary course of business,

property of the estate[.]” Id.

        18.     Each of these Code provisions applies only to property of the Debtor or the estate,

not to property of non-debtor entities. See, e.g., In re Panther Mountain Land Development, LLC,

686 F.3d 916, 923 (8th Cir. 2012) (quoting Kreisler v. Goldberg, 478 F.3d 209, 213 (4th Cir. 2007)

(“[T]he automatic stay does not, in general, apply to actions against parties who enjoy factual or

legal relationships with a debtor, such as a debtor’s wholly owned subsidiaries. . . . ‘It is a

fundamental precept of corporate law that each corporation is a separate legal entity with its own

debts and assets, even when such corporation is wholly owned by another corporate entity.’”).

        19.     The only relevant asset of the Debtor or the estate is the ownership interest in non-

debtor IUW LLC. The Weld Wheel Property, and the proceeds of any sale of the Property, are

assets of IUW LLC not subject to the automatic stay or to the provisions of Code section 363

governing sale of property of the estate. See In re Panther Mountain Land Development, LLC, 686

F.3d at 922.

        20.     The proposed sale of the Property by IUW LLC would not alter the property of the

Debtor or its estate, because the Debtor would continue to own exactly that property it did prior to




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the sale, namely the ownership interest in IUW LLC. Accordingly, Bankruptcy Code sections 362

and 363 do not apply to the proposed sale of the Weld Wheel Property by IUW LLC.

       D.      Authority to Issue “Comfort Order”

       21.     Bankruptcy Code Section 362(j) provides for the issuance of an order confirming

that the automatic stay has been terminated pursuant to section 362(c) in cases involving

successive bankruptcy petitions. Id. Although this provision is not directly applicable to the

Debtor’s requested relief in this Motion, courts have found authority to issue similar “comfort

orders” in circumstances well beyond the limitations of subsections (c) and (j) of Code section

362. See, e.g., In re KG Winddown, LLC, 628 B.R. 739, 749 (Bankr. S.D.N.Y. 2021) (“[T]he

contention that an order providing for survival of the Sale Order (either in whole or in party)

constitutes an unnecessary ‘comfort order’ is unavailing. . . . [E]ven if such an order is not required,

approval would eliminate many unnecessary ambiguities. ‘Comfort orders’ can be appropriate in

many circumstances, including this one.”); see also In re Hill, 364 B.R. 826, 828 (Bankr. M.D. Fl.

2007) (noting the broad discretion provided to bankruptcy courts in determining whether to enter

comfort orders granted by section 105 of the Code).

       22.     Under the present circumstances, entry of a comfort order is entirely appropriate

and stands to benefit the Debtor and the estate. The proposed sale of the Weld Wheel Property

does not involve property of the Debtor or the estate and is not subject to the automatic stay.

Further, by liquidating the collateral which purportedly secures the Andersons’ claim against the

Debtor, the proposed sale will facilitate the resolution of the Andersons’ disputed claim without

requiring the Debtor to incur ongoing expenses related to the Property.

       E.      Proposed Treatment of Sale Proceeds

       23.     The Debtor anticipates that IUW LLC will receive the sale proceeds and pay such

proceeds to the Andersons to be applied toward the outstanding obligation on the Note. Any


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reduction in the balance on the Note following application of the sale proceeds would serve to

reduce the balance purportedly owed by the Debtor to the Andersons on the alleged guarantee

claim. For the sake of clarity, the Debtor is not requesting by this Motion that the Court authorize

or direct either the Debtor or IUW LLC to apply the sale proceeds in any particular manner. The

Debtor contends that any such action by this Court would be beyond the scope of this chapter 11

case as the Weld Wheel Property and any proceeds generated therefrom are not assets of the Debtor

or the bankruptcy estate.

                                       Reservation of Rights

          24.   Nothing contained herein is intended or should be construed as an admission as to

the validity of any claim against the Debtor or a waiver of the Debtor’s or any other party-in-

interest’s rights to dispute any claim. The Debtor expressly reserves its right to contest any claim

related to the relief sought herein.

          25.   For the reasons set forth above, the Debtor respectfully requests that the Court enter

an order (a) confirming the inapplicability of the automatic stay to the sale of the Weld Wheel

Property held by non-debtor IUW LLC; (b) confirming that neither the Debtor nor IUW LLC needs

approval of such sale; and (c) granting such other and further relief as the Court deems just and

proper.




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Dated:   September 15, 2021      Respectfully submitted,
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                                  Exhibit A

                                 Deed of Trust
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                                  Exhibit B

                          Purchase and Sale Agreement
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                                            Fergus Campbell
                                            Authorized Signatory
                                            9/30/2020
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